        Case 1:23-cr-00118-AT         Document 113         Filed 07/22/23       Page 1 of 1


                                                                   CHIESA SHAHINIAN & GIANTOMASI PC

                                                                            11 TIMES SQUARE, 34TH FLOOR
                                                                                      NEW YORK, NY 10036




                                                                                           EMIL BOVE
                                                                                    ebove@csglaw.com
                                                                                      (O) 212.324.7265


                                                      July 22, 2023
Via ECF
The Honorable Analisa Torres
U.S. District Judge
Southern District of New York

       Re:     United States v. Yanping Wang, et al., No. 23 Cr. 118 (AT)

Dear Judge Torres:

          Defendant Yanping Wang recently retained my firm, Chiesa Shahinian & Giantomasi PC,
to represent her in this matter in lieu of ChaudhryLaw PLLC. I entered a notice of appearance today.
Enclosed please find a stipulation and proposed order relating to the requested substitution of counsel.

                                                      Respectfully submitted,

                                                      /s/ Emil Bove
                                                      Emil Bove

Enclosure

Cc:    Counsel of Record
       (Via ECF)




            NEW JERSEY                                                        NEW YORK
